     Case: 1:16-cv-01930 Document #: 36 Filed: 05/15/18 Page 1 of 1 PageID #:299

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Ignite USA, LLC
                                           Plaintiff,
v.                                                           Case No.: 1:16−cv−01930
                                                             Honorable Sara L. Ellis
Pacific Market International, LLC
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 15, 2018:


       MINUTE entry before the Honorable Sara L. Ellis:Status hearing held on
5/15/2018. Parties report on finalization of settlement. Status hearing set for 6/14/2018 at
1:30 PM. If stipulation of dismissal is filed prior to status date, no appearance is required.
Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
